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          EXHIBIT B
       Mesiti Declaration
U.S. Design Patent No. D695,526
 With File Wrapper History and
       Cited References
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                                                                                                USOOD695526S


(12) United States Design Patent (10) Patent No.:                                                               US D695,526S
       Easlick                                                                 (45) Date of Patent:                . Dec. 17, 2013
(54) HANDBAG HANGER HOOK                                                    Primary Examiner — Holly Baynham
                                                                            (74) Attorney, Agent, or Firm — Sinorica, LLC
(76) Inventor: Jacklyn S Easlick, Rye, NY (US)
(**) Term:            14 Years                                              (57)                      CLAM
                                                                            The ornamental design for a handbag hanger hook, as shown
(21) Appl. No. 29/431,801                                                   and described.
(22) Filed:           Sep. 11, 2012
(51) LOC (9) Cl. .................................................. 03-01                         DESCRIPTION
(52) U.S. Cl.                                                               FIG. 1 is a perspective view of the handbag hanger hook;
        USPC ............................................. D3/328; D8/367   FIG. 2 is a front elevational view thereof
(58) Field of Classification Search                                         FIG. 3 is a rear elevational view thereof;
     USPC ...................... D3/328; D8/367; 248/302–303                FIG. 4 is a right-side elevational view thereof;
     See application file for complete search history.                      FIG. 5 is a left-side elevational view thereof
                                                                            FIG. 6 is a bottom plan view thereof;
(56)                     References Cited                                   FIG. 7 is a top plan view thereof; and,
                                                                            FIG. 8 is a reduced scale perspective view thereof wherein the
                  U.S. PATENT DOCUMENTS                                     top hook is hung on a rod, with a handbag hanging from the
       5,575,446 A * 1 1/1996 Swenson et al. .............. 248/304         bottom hook.
       D475,278 S *       6/2003 Williams .........            ... D8,367   The broken line showing the rod and handbag in FIG. 8 is
       D493,092 S *       7/2004 Kalat .......                 ... D8,367   included for the purpose of showing environmental structure
       D560,924 S *       2/2008 Walker ...                    ... D6,396     df             rt of the claimed desi
       D644,438 S *       9/2011 Brucker .........................     28   and Iorms no part OI une claimed design.
* cited by examiner                                                                          1 Claim, 8 Drawing Sheets
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                                  FIG.
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                                  FIG 2
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                                  FIG 3
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                                  FIG. 4
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                                  FIG. 5
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                                  FIG. 6
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                                  FIG. 7
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                                  FIG. 8
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